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                                 A>C>86ADDG9>C6IDGC:HI=:H>66C9,JG<:GN
                             :E6GIB:CID;)=6GB68N
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#JAN        Q&6G8=          )=6GB68N,JE:GK>HDG9JAIG>I>86A6G:6C9):G>DE:G6I>K:6G:
                             HHD8>6I:)GD;:HHDG
                                 >K>H>DCD;)JABDC6GN6C9G>I>86A6G:&:9>8>C:
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                             #D=CD8=G6C/&:9>86A:CI:G
                             ,6>CI%DJ>H&>HHDJG>
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J<JHI  &6N          -GJB6C,I6I:.C>K:GH>IN               # $%#*
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J<JHI                                 HHD8>6I:)GD;:HHDG
                                         :E6GIB:CID;"CI:GC6A&:9>8>C:
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
#JAN    #JAN                          A>C>86A,>I:DDG9>C6IDG
                                             G>I>86A6G:+:H>9:C8N) 2 
                                         &>9L:HI:GC.C>K:GH>IN
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'DK:B7:G                               9?JC8I"CHIGJ8IDG
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'DK:B7:G                               HH>HI6CI)GD;:HHDG
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                                             +.,!&:9>86ADAA:<:
                                         =>86<D"%
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J<JHI                                  9?JC8IHH>HI6CI)GD;:HHDG
                                         >K>H>DCD;)=6GB68N)G68I>8:
                                             =>86<DDAA:<:HD;)=6GB68N
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J<JHI         #JC:                   A>C>86A"CHIGJ8IDG
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                                             =>86<D"AA>CD>H
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&6N         )G:H:CI                    HHD8>6I:)GD;:HHDG
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#6CJ6GN        Q)G:H:CI                 G>I>86A6G:&:9>8>C:
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#6CJ6GN                #DJGC6AD;G>I>86A6G:
                        &6CJH8G>EI+:K>:L:G
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#6CJ6GN                 )=6GB68D:E>9:B>DAD<N6C9GJ<,6;:IN
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                            ,&CCJ6AG>I>86A6G:DC<G:HH6C9,NBEDH>JB
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       869:B>86C9"C9JHIGN,:8IDGH GJ<>H8DK:GN6C9:K:ADEB:CI :9>I>DC +,
       )G:HH      
       
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>CI:CH>K:86G:JC>I:HI>B6I>DCD;8DC8DG96C8:6C96C6ANH>HD;JC9:GAN>C<;68IDGH>C6BJAI>8:CI:G
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)=>A69:AE=>6) &6N      
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    % /6>H JGC6C>)G6C@$A:>CE:AA,>BDC%6I::;( &JAI>9>H8>EA>C6GN
EEGD68=ID"BEGDK:(JI8DB:H>C)6I>:CIHL>I=,:EI>8,=D8@ B:G>86CDAA:<:D;=:HI
)=NH>8>6CH)/ *0*(#$/$0$,1 1(-, ,6C>:<D (8ID7:G       
        
   % G6C@0%:>@>C# CK6AJ6I>DCD;!:E6IDIDM>8>IN6C9':E=GDIDM>8>IND;
%>EDHDB6ABE=DI:G>8>C 'DGI=B:G>86CDC<G:HHD;A>C>86A-DM>8DAD<N '- ,6C
CIDC>D-1 ,:EI:B7:G        

   % 6C9%:>@>C# +:K:GH6AD;/:CIG>8JA6G-68=N86G9>6/-;GDB%>9D86>C:L>I=
B>D96GDC: 'DGI=B:G>86CDC<G:HHD;A>C>86A-DM>8DAD<N '- ,6CCIDC>D-1 
,:EI:B7:G      

   /6>H%  JGC6C>)G6C@,>BDC CEEGD68=ID"BEGDK:(JI8DB:H>C
)6I>:CIHL>I=,:EI>8,=D8@ "CI:GC6I>DC6ADC<G:HHD;=:BDI=:G6EN6C9"C;:8I>DC H:HH>DC 
-DGDCID6C696 #JC:       

   % $A:>CE:AA+06G9%6I::;(AIB6C)6C9 DCO6<6& "BEGDK>C<,:EH>H6G:
)G68I>8:H-=GDJ<=&JAI>9>H8>EA>C6GN"C>I>6I>K:H +.,!.C>K:GH>IN&:9>86A:CI:G+:H:6G8=
DGJB =>86<D"% &6N       

   &DG:CDG6C8D)&6=6?6C',>BDC G6=:#% %::0-6C9DC+ (JI8DB:D;
)JABDC6GN!NE:GI:CH>DC)6I>:CIHL=DG:FJ>G:9C9DIG68=:6A"CIJ76I>DCL>I="CI:CH>K:6G:
.C>I9B>HH>DC B:G>86C-=DG68>8,D8>:IN-,B::I>C< -DGDCID6C696 &6N        

   % ,E:GGN&2D9:G&,>BDC G6=:#6A@+ ;;>868N6C9,6;:IND;DE6B>C:
K:GHJH'DG:E>C:E=G>C:>CI=:&6C6<:B:CID;,:EI>8,=D8@ ,D8>:IND;G>I>86A6G:&:9>8>C:
,& / */$0$,1 1(-,6II=:CCJ6A&::I>C< !DCDAJAJ! :7GJ6GN        

   % G6C@0%D=-G>K:9>&6A@+ CK6AJ6I>DCD;':E=GDIDM>8>IND;%>EDHDB6A
BE=DI:G>8>C B:G>86CDAA:<:D;A>C>86A)=6GB68N) :CK:G( (8ID7:G         



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                                                                                            
                                                                                             

    G>:AB6>:G+:>8=A:N+6H676G%:9:7D:G'% G6C@0,:<G:I>#+>I8=>:
# 6EIDBN8>C;DG-G:6IB:CID;/6C8DBN8>CG:H>HI6CICI:GD8D88JHADD9HIG:6B"C;:8I>DCH 
B:G>86CDAA:<:D;A>C>86A)=6GB68N) :CK:G( (8ID7:G          

    $JB6G,@GD7>@" JOB6C#%6E>CH@N,%6JEA6C9$D9:@)36CDII>,% 
,>BDC6C9I=:--,"CK:HI><6IDGH -=:!><=&DGI6A>IND;6C9>96,:EI>8,=D8@>H
MEA6>C:97NM8:HH>K::A6NH>C"C>I>6I>DCD;CI>;JC<6A-=:G6EN "CI:GH8>:C8:DC;:G:C8:D;
CI>B>8GD7>6A<:CIH6C9=:BDI=:G6EN" =>86<D"% ,:EI:B7:G          

    $>:A)#% ,ID8@L:AAJC<! K6AJ6I>DCD;':E=GDIDM>8>IN+:<6G9>C<
B>CD<AN8DH>9:DH>C<>C6!:B6IDAD<N (C8DAD<N)DEJA6I>DC B:G>86C,D8>:IND;!:6AI=
,NHI:BH)=6GB68N,!)B::I>C< C6=:>B :8:B7:G              

   -K:G9:@% G6C@0 HH:HHB:CID;I=:-G:6IB:CID;!DHE>I6A6C9/:CI>A6IDG
HHD8>6I:9)C:JBDC>66I6.C>K:GH>IN!DHE>I6A B:G>86C,D8>:IND;!:6AI=,NHI:BH)=6GB68N
,!)B::I>C< C6=:>B :8:B7:G            

   ,>BDC G6=:#,=6H=66,% AE:GC6C96A@+ "C8>9:C8:6C9(JI8DB:D;
/6HDEG:HHDG+:H>HI6C8:>C,:EI>8,=D8@ B:G>86CDAA:<:D;=:HI)=NH>8>6CH)
B::I>C< ,6AI%6@:>IN.I6= (8ID7:G       

   % @>BDK,,6CIDH06C<2G6C@06A@+,>BDC HH:HH>C<CI>7>DI>8
9B>C>HIG6I>DC>C)6I>:CIH0>I=,:EI>8,=D8@ "C;:8I>DJH>H:6H:,D8>:IND;B:G>86",
B::I>C< -DGDCID6C696 (8ID7:G       

   % G6C@0)GD>6%,>BDC G6=:#,>BDC 6C9>9:B>66HHD8>6I:9,:EI>8
,=D8@ "C;:8I>DJH>H:6H:,D8>:IND;B:G>86",B::I>C< -DGDCID6C696 (8ID7:G         

   % ,>BDC G6=:#6A@+ CK6AJ6I>DCD;9G:C6AJC8I>DC6C9"C;:8I>C<
)6I=D<:C>C,:EI>8,=D8@B:G>86C-=DG68>8,D8>:IN-,B::I>C< ,6C>:<D &6N           

   ,>BDC G6=:#% AE:GC6C96A@+ )=NH>DAD<>8HIG:HH:98DGI>HDAA:K:AH>C
K6HDEG:HHDG9:E:C9:CIH:EI>8H=D8@8DGG:A6I:L>I= 96NBDGI6A>INB:G>86C-=DG68>8,D8>:IN
-,B::I>C< ,6C>:<D &6N         

   :AA#,>BDC G6=:#% 6A@+ I>DAD<>86JH:D;,:EI>8,=D8@"H'DI
HHD8>6I:90>I=JG6I>DCD;/6HDEG:HHDG-=:G6EN(G 6N&DGI6A>INB:G>86C-=DG68>8
,D8>:IN-,B::I>C< ,6C>:<D &6N           

  G>BB,6CCDC#%::-G6C@% )GD>6%%67JHO:LH@>%&JAA6C:$#6C8:A
-A6G@' .I>A>O6I>DCD;':L:GCI>;JC<6AH>C6%6G<:&:IGDEDA>I6C,:II>C< (.,DCJC<6A
"C;:8I>DCH %6H/:<6H'/ &6G8=      

 +:>B6CC&G6C@% A>CI' K6AJ6I>DCD;B>CD<AN8DH>9:6C9/6C8DBN8>C
-=:G6E:JI>8GJ<&DC>IDG>C<B:G>86C,D8>:IND;!:6AI=,NHI:BH)=6GB68>HIH,!)&>9
2:6GB::I>C< %6H/:<6H'/ :8:B7:G           

 ,>BDC G6=:#% AE:GC6A@+ -=:,6;:IND;DE6B>C:K:GHJH
'DG:E>C:E=G>C:6H/6HDEG:HHDG-=:G6EN>C,:EI>8,=D8@B:G>86CDAA:<:D;=:HI
)=NH>8>6CH=:HIB::I>C< &DCIG:6A6C696 (8ID7:G        
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                                                                                           
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 ,>BDC G6=:#% AE:GC$:AA6G6A@+ DE6B>C:K:GHJH'DG:E>C:E=G>C:6H
I=:"C>I>6A/6HDEG:HHDG>C,:EI>8,=D8@B:G>86C-=DG68>8,D8>:IN-,B::I>C< ,6C>:<D
 &6N       

 % )6I:A) JG@6AE:GC 8DCDB>8K6AJ6I>DCD;,:96I>DC6C9C6A<:H>6>C
&:9>86A"CI:CH>K:6G:.C>IB:G>86C,D8>:IND;!:6AI=,NHI:B)=6GB68>HIH,!)&>92:6G
B::I>C< ':L(GA:6CH% :8:B7:G        

 )6I:A)%  K6AJ6I>DCD;,IG:HH.A8:G)GDE=NA6M>HL>I=)6CIDEG6ODA:>C&:9>86AAN"AA
)6I>:CIHB:G>86C,D8>:IND;!:6AI=,NHI:B)=6GB68>HIH,!)&>92:6GB::I>C< ':L
(GA:6CH% :8:B7:G       

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#$ %%! $

    ):G>DE:G6I>K:6G:)+'D8JH,:HH>DCR ##*$. 1 1$-%1'$ /1$/(-.$/ 1(3$ (,
 , &$+$,18I>K>IN'JB7:G               ! )  =DJGHD;)8G:9>I B:G>86C
DAA:<:D;A>C>86A)=6GB68N)6CCJ6AB::I>C< (8ID7:G         &D9:G6IDG DJG6C<
)6I:A)=6GB

  GJ<0>I=9G6L6A,NC9GDB:H>CI=:". ,D8>:IND;G>I>86A6G:&:9>8>C:,&
&JAI>EGD;:HH>DC6AG>I>86A6G:9JAIDJGH: =>86<D"%  2&201 ,# 

 )=6GB68DI=:G6EN8=6AA:C<:H>CG>I>86AAN>AA)6I>:CIH ,D8>:IND;G>I>86A6G:&:9>8>C:
,&&JAI>EGD;:HH>DC6AG>I>86A6G:9JAIDJGH: =>86<D"% J<JHI         

 S,ADLID06@:&6C6<>C<:A6N:9B:G<:C8:>CI=:)DHIHJG<>86A,:II>C<T B:G>86CDAA:<:
D;A>C>86A)=6GB68N) AD76AB::I>C< ):G>DE:G6I>K:)+'D8JH,:HH>DC (+AJ:H
&6C6<:B:CID;):G>DE:G6I>K:B:G<:C8>:H ,:6IIA:0 (8ID7:G            

 S+:9J8>C<(E>D>9JH:>C(GI=DE:9>8,JG<:GNT B:G>86CHHD8>6I>DCD;(GI=DE:9>8,JG<:GN
4(,5 ':L(GA:6CH% &6G8=        

 S):G>DE:G6I>K:C6A<:H>6T &>9L:HI(GI=DE:9>8H6I+JH=  G6C9+DJC9H EG>A         

 S%>;:-=G:6I:C>C<"C;:8I>DCH>6<CDH>H6C9CI>B>8GD7>6A-=:G6EN,:A:8I>DCT JC96B:CI6AH
>CG>I>86A6G:,JEEDGI4,5EGD<G6B;DGI=:,D8>:IND;G>I>86A6G:&:9>8>C:4,&5 
=>86<D"% J<JHI     

 S-:8=CDAD<N>CI=:".6C6GG6C<:9B6GG>6<:7:IL::C-:A:B:9>8>C:6C9-:A:E=6GB68NT
,E:6@:G ,D8>:IND;G>I>86A6G:&:9>8>C:,& CCJ6ADC<G:HH (GA6C9D% 
#6CJ6GN      

 S0=>8=DMD:H2DJG)6I>:CI>I>CIDID&:I=D97:=>C9I=:B69C:HH;DGK6HDEG:HHDG
H:A:8I>DCT,E:6@:G ,D8>:IND;G>I>86A6G:&:9>8>C:,& CCJ6ADC<G:HH 
DCI>CJ>C<9J86I>DC (GA6C9D% #6CJ6GN       
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                                                                                            
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     SA::9>C<#:DE6G9NT ,E:6@:G ,D8>:IND;G>I>86A6G:&:9>8>C:,& CCJ6A
DC<G:HH DCI>CJ>C<9J86I>DC (GA6C9D% #6CJ6GN         

     S):G>DE:G6I>K:&:9>86I>DCDH>C<>CI=:(7:H:)6I>:CIT :E6GIB:CID;C:HI=:H>DAD<N
   G6C9+DJC9H #6CJ6GN       

     S):G>DE:G6I>K:&:9>86I>DC,6;:INT :E6GIB:CID;C:HI=:H>DAD<N G6C9+DJC9H :8:B7:G
       

   TAJB6O:C>A-=:C6C9'DLT B:G>86C869:BND;A>C>86A-DM>8DAD<N B:G>86CD6G9D;
EEA>:9-DM>8DAD<N- - #DJGC6AAJ7EG:H:CI6I>DC0:7>C6G (8ID7:G          

   T/6HD68I>K:I=:G6E>:H>CI=:".T "AA>CD>H869:BND;)=NH>8>6CHH>HI6CIH) DCI>CJ>C<
9J86I>DC =>86<D"% (8ID7:G      

   S%>;:-=G:6I:C>C<"C;:8I>DCH>6<CDH>H6C9CI>B>8GD7>6A-=:G6EN,:A:8I>DCT JC96B:CI6AH
>CG>I>86A6G:,JEEDGI4,5EGD<G6B;DGI=:,D8>:IND;G>I>86A6G:&:9>8>C:4,&5 
=>86<D"% &6G8=      

   SB:G<>C<-=:G6E>:H;DG"9>DE6I=>8)JABDC6GN>7GDH>H"%6C9I=:+DA:D;,E:8>6AIN
)=6GB68:JI>86AHT '6I>DC6AHHD8>6I>DCD;,E:8>6AIN)=6GB68:JI>86AH4',)5 DCI>CJ>C<
9J86I>DC (GA6C9D% (8ID7:G         

   S%>;:-=G:6I:C>C<"C;:8I>DCH>6<CDH>H6C9CI>B>8GD7>6A-=:G6EN,:A:8I>DCT JC96B:CI6AH
>CG>I>86A6G:,JEEDGI4,5EGD<G6B;DGI=:,D8>:IND;G>I>86A6G:&:9>8>C:4,&5 
=>86<D"% J<JHI      

   S)=6GB6<DAD<>8E6G6B:I:GH;DGI=:(7:H:".E6I>:CITB:G>86CDAA:<:D;)=NH>8>6CH
4)5CCJ6ADC;:G:C8: DCI>CJ>C<9J86I>DC& (GA6C9D% EG>A         

   S)6>C<>I6I>DC6C9:A>G>JB>CI=:".T,E:6@:GB:G>86CDAA:<:D;)=NH>8>6CH4)5
CCJ6ADC;:G:C8: DCI>CJ>C<9J86I>DC& ,6CG6C8>H8D EG>A         

    SGJ<"C9J8:9GG=NI=B>6UH>CI=:".T,E:6@:G,D8>:IND;G>I>86A6G:&:9>8>C:,&
 CCJ6ADC;:G:C8: DCI>CJ>C<9J86I>DC ,6C>:<D #6CJ6GN            

    S&6C6<>C<!NEDC6IG:B>6=6AA:C<:H(EEDGIJC>I>:H;DGI=:!DHE>I6A)=6GB68>HIT
&D9:G6IDG6C9,E:6@:G "AA>CD>HDJC8>AD;!:6AI=,NHI:B)=6GB68>HIH"!) DCI>CJ>C<
9J86I>DC (6@GDD@"% J<JHI         

    S)=6GB68>HI6EEGD68=ID6E6I>:CIL>I=H:EI>8H=D8@TCCJ6A,>CDB:G>86C!DHE>I6A
)=6GB68NDC;:G:C8: '6C?>C<=>C6 &6N           

        #)-"CI:GC6I>DC6A"CIG6K:CDJHDC;:G:C8:"CIG6K:CDJHB:9>86I>DC8DBEDJC9>C<6C9
H6;:IN SH:EI>8I:8=C>FJ:;DG8DBEDJC9>C<HI:G>A:EGD9J8IHT6C9S.,)=6EI:GT:>?>C<
=>C6 &6N        

   SC6EEGD68=IDI=:B6C6<:B:CID;9:A>G>JB>CI=:".T"AA>CD>HDJC8>AD;!:6AI=,NHI:B
)=6GB68>HIH"!) ,EG>C<&::I>C< ADDB>C<IDC"% &6G8=         



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
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                                                                                            
                                                                                             

   /6C8DBN8>CG:H>HI6CI,1$/-"-""20/+ ,D8>:IND;G>I>86A6G:&:9>8>C:,&".
"C;:8I>DC>C6CG6D;&JAI>+:H>HI6C8: ,JBB:GDC;:G:C8:>C"CI:CH>K:6G:&:9>8>C:
=>86<D"% #JC:      

   S(C:)GD@>C:I>8<:CIK:GHJH-LD;DG 6HIGD>CI:HI>C6A&DI>A>INT)G:H:CI:96II=:B:G>86C
,D8>:IND;)6G:CI:G6A6C9CI:G6A'JIG>I>DC,)'8DC;:G:C8: /$0$,1$/':L(GA:6CH% 
:7GJ6GN      

   S!NE:G<AN8:B>6&6C6<:B:CI>CI=:".T)G:H:CI:96II=:B:G>86C,D8>:IND;)6G:CI:G6A
6C9CI:G6A'JIG>I>DC,)'8DC;:G:C8: $00(-,-#$/ 1-/ ,#/$0$,1$/':L(GA:6CH
% :7GJ6GN       

   S6I:8=DA6B>C:H6II=:".:9H>9:0=>8=>HI=:7:HIT)G:H:CI:9IDI=::E6GIB:CID;
)=6GB68DAD<N,:B>C6G,:G>:H +JH=.C>K:GH>IN&:9>86A:CI:G =>86<D"% 'DK:B7:G           

   S,6;:IN6C9-=:G6E:JI>8"CI:G8=6C<:D; :C:G>8%DL&DA:8JA6G0:><=I!:E6G>CHT)G:H:CI:9
6IB:G>86CDAA:<:D;=:HI)=NH>8>6CH)+DJC9I67A:B::I>C< )=>A69:AE=>6) (8ID7:G
     

 S-=:G6E:JI>8"CI:G8=6C<:6C9 :C:G>8%DL&DA:8JA6G0:><=I!:E6G>CHT)G:H:CI:96II=:
'DGI=B:G>86C-=GDB7DH>HDGJB'-B::I>C<6IG><=6BUH6C90DB:CUH!DHE>I6A 
DHIDC& ,:EI:B7:G        

 S,6;:IND;DAADLDC>DAD<>8&:9>86I>DCH"BEA>86I>DCH;DGCI>8D6<JA6CIHTDCI>CJ>C<
9J86I>DC)GD<G6B )G:H:CI:96II=:B:G>86CDAA:<:D;=:HI)=NH>8>6CH)B::I>C< 
!JCI>C<IDC:68= &6G8=        

 S6A6C8>C<)GDED;DA6C9'JIG>I>DC>CI=:"CI:CH>K:6G:.C>IT)G6<B6I>8EEGD68=ID
'JIG>I>DC>CI=:"CI:CH>K:6G:.C>I DCI>CJ>C<9J86I>DC)GD<G6B )G:H:CI:96I+.,!
.C>K:GH>IN&:9>86A:CI:G =>86<D"% 'DK:B7:G        

 9K6C8:9G>I>86A6G:-G6JB6,NBEDH>JB /-&/ + -,02*1 ,1 ,#.$ )$/
DCI>CJ>C<9J86I>DCB:G>86CHHD8>6I>DCD;G>I>86A6G:'JGH:H'88G:9>I6I>DC
DJC8>A;DGDCI>CJ>C<9J86I>DC&B:G>86C869:BND;)=NH>8>6CHH>HI6CIH&
6C988G:9>I6I>DCDJC8>A;DG)=6GB68N9J86I>DC)
              !   "
              !   "
              !    "
               =>86<D"% 'DK:B7:G      

 SCK6AJ6I>DC6C9-G:6IB:CIEEGD68=ID!NEDC6IG:B>6>CI=:!DHE>I6A>O:9)6I>:CIT
A676B6,D8>:IND;!:6AI=,NHI:B)=6GB68>HIHA,!)CCJ6A&::I>C< DCI>CJ>C<9J86I>DC
)>GB>C<=6B% (8ID7:G         

 SK6AJ6I>DCD;-G:6IB:CI,IG6I:<>:H;DGI=:-G:6IB:CID;!NEDC6IG:B>6>C8JI:AN"AA
)6I>:CIHT)G:H:CI:9ID&6NDA>C>8':E=GDAD<N:AADLH +D8=:HI:G&" EG>A    

 S)=6GB68DAD<>8DCH>9:G6I>DCH>CI=:"CI:CH>K:6G:.C>I'JIG>I>DCT)G6<B6I>8EEGD68=ID
'JIG>I>DC>CI=:"CI:CH>K:6G:.C>I DCI>CJ>C<9J86I>DC)GD<G6B )G:H:CI:96I+.,!
.C>K:GH>IN&:9>86A:CI:G =>86<D"% 'DK:B7:G        


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                                                                                             
                                                                                              


 S&6C6<:B:CID;,:96I>DC6C9C6A<:H>6>CI=:"CI:CH>K:6G:.C>IT"AA>CD>HDJC8>AD;
!:6AI=,NHI:BD;)=6GB68>HIH"!)CCJ6A&::I>C< DCI>CJ:9&:9>86A9J86I>DC) 
(6@GDD@"% ,:EI:B7:G       

 S-=:G6E:JI>8&6C6<:B:CID; G6B)DH>I>K:6C9 G6B':<6I>K:+:H>HI6C8:T&:9>8>C:
  G6C9+DJC9HDCI>CJ>C<&:9>86A9J86I>DC& )G:H:CI:96I,I #DH:E=!DHE>I6A 
=>86<D"% EG>A    

 S.E96I:DCI=:)=:HI J>9:A>C:H;DG)G:K:CI>DCD;/:CDJH-=GDB7D:B7DA>HBT
)G:H:CI:9ID+.,!.C>K:GH>IN&:9>86A:CI:G)JABDC6GN6C9G>I>86A6G::AADLH =>86<D
"% &6G8=     

 SEEGD68=:HID+:H>HI6C8:>CDBBJC>IN8FJ>G:9)C:JBDC>6T&:9>8>C: G6C9+DJC9H
DCI>CJ>C<&:9>86A9J86I>DC& )G:H:CI:96I(6@)6G@!DHE>I6A (6@)6G@"% 
:7GJ6GN      

 S&6C6<:B:CID;()M68:G76I>DC>CI=:"CI:CH>K:6G:.C>IT)G:H:CI:9ID.C>K:GH>IND;
=>86<D6C9&>8=6:A0:>HH&:BDG>6A!DHE>I6A+:H>9:CIH "CI:GCH =>86<D"% :7GJ6GN          

 S8JI:DGDC6GN,NC9GDB:H'JGH>C<EEGD68=ID"CIG6K:CDJH-G:6IB:CI,IG6I:<>:HT
)G:H:CI:96I:CI:<G6UH6AA'JGH>C<,NBEDH>JBDCI>CJ>C<9J86I>DC 0DD9HID8@"% 
,:EI:B7:G       

 S8JI:DGDC6GN,NC9GDB:HD8JHDC+:E:G;JH>DC-=:G6E>:HT)G:H:CI:9ID+.,!
.C>K:GH>IN&:9>86A:CI:G6G9>DAD<N6C9G>I>86A6G::AADLH =>86<D"% J<JHI       

 SEEGD68=ID"CK6H>K:JC<6A"C;:8I>DCH>CG>I>86AAN"AA(C8DAD<N)6I>:CIHT)G:H:CI:9ID
'DGI=L:HI:GC&:BDG>6A!DHE>I6A!:B6IDAD<N6C9(C8DAD<N:AADLH =>86<D"% #JAN           

 S9K6C8:H>CCI>;JC<6A)=6GB68DAD<N6C9.E96I:>C6C9>96 J>9:A>C:HT)JABDC6GN6C9
G>I>86A6G:6C9"C;:8I>DJH>H:6H::AADLH&D9:G6IDG )G:H:CI:G)G:H:CI:9ID."+.,!
6C9%DNDA6&:9>86A:CI:G=>86<D"% &6G8= EG>A        

 S,IG6I:<>:H;DG/:CDJH-=GDB7D:B7DA>HB6C9,IG:HH.A8:G)GDE=NA6M>H>C&:9>86AAN"AA
)6I>:CIHT&:9>8>C: G6C9+DJC9H)G:H:CI:9ID+.,!&:9>86A:CI:G+:H>9:CIH "CI:GCH
DCI>CJ>C<&:9>86A9J86I>DC&+.,!.C>K:GH>IN&:9>86A:CI:G=>86<D"% 'DK:B7:G
     

 SG>I>86AEEG6>H6AD;,JGK:>AA6C8:6I6;DGDBBJC>IN8FJ>G:9+:HE>G6IDGN)6I=D<:CHT
)G:H:CI:9IDII:C9>C<)=NH>8>6CH>C=>86<DA6C9G:6DJG,:6HDCH!DI:A=>86<D"% 
'DK:B7:G       

 SEEA>86I>DCD;K>9:C8:6H:9&:9>8>C:>CI=:-G:6IB:CID;DBBJC>IN8FJ>G:9
)C:JBDC>6T)G:H:CI:9ID,I &6GNUH"CI:GC6A&:9>8>C:+:H>9:CIH,I &6GNUH!DHE>I6A=>86<D
"% (8ID7:G     

 SEEA>86I>DCD;DBBJC>IN8FJ>G:9)C:JBDC>6 J>9:A>C:H>C6C.G<:CI6G::CI:GT
)G:H:CI:9IDII:C9>C<!DJH:,I6;;,=:GB6C&:9>86A:CI:GA<DCFJ>C"% ,:EI:B7:G           
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                                                                                           
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 S-G:6IB:CIEEGD68=ID+:H>HI6CI G6B)DH>I>K:"C;:8I>DCHT)G:H:CI:9ID'DGI=L:HI
DBBJC>IN!DHE>I6A)=6GB68N,I6;;GA>C<IDC!:><=IH"% #JAN      

 S6G9>DK6H8JA6G)=6GB68DAD<N+.,!6G9>DAD<N+:K>:LTDCI>CJ>C<9J86I>DC)GD<G6B
)G:H:CI:9ID+.,!,%&6G9>DAD<N:AADLH+.,!)G:H7NI:G>6C,I %J@:UH&:9>86A:CI:G
=>86<D"% J<JHI      

 S>DI:GGDG>HBTDCI>CJ>C<9J86I>DC)GD<G6B)G:H:CI:9ID,6>CI%DJ>HG:6)=6GB68>HIH
,6>CI%DJ>HDAA:<:D;)=6GB68N,I %DJ>H&( :7GJ6GN        

 S,:EH>H':L-G:6IB:CIEEGD68=L>I=8I>K6I:9)GDI:>CTDCI>CJ>C<9J86I>DC
)GD<G6B)G:H:CI:9ID,6>CI%DJ>HG:6)=6GB68>HIH,6>CI%DJ>HDAA:<:D;)=6GB68N,6>CI
%DJ>H&( (8ID7:G       
        
 S,:EH>H':L-G:6IB:CIEEGD68=L>I=8I>K6I:9)GDI:>CT&:9>8>C: G6C9+DJC9H
)G:H:CI:9ID06H=>C<IDC.C>K:GH>IN6C9,6>CI%DJ>H.C>K:GH>IN+:H>9:CIH#D=CD8=G6C/
&:9>86A:CI:G,6>CI%DJ>H&( (8ID7:G        

 S-=:)G:K:CI>DC6C9-G:6IB:CID;)DHIB:CDE6JH6A(HI:DEDGDH>HT)G:H:CI:9ID"C9>6C
,D8>:IND;)=NH>8>6CHD;,6>CI%DJ>H =6C9>JAIJG6A:CI:G,6>CI%DJ>H&( (8ID7:G    
                           
 SADE>9D<G:AKH ->8ADE>9>C:6;I:GDGDC6GNGI:GN,I:CI)A68:B:CITD8IDGD;)=6GB68N
,:B>C6G)G:H:CI:9ID,6>CI%DJ>HDAA:<:D;)=6GB68N68JAIN,6>CI%DJ>H&( #6CJ6GN       
                                                                    
 S-=:+DA:D;D;68IDGH>C&:I67DA>HBT"CDG<6C>8=:B>HIGN+:H:6G8=-=:H>H)G:H:CI:9I 
=:B>HIGN68JAIN-GJB6C,I6I:.C>K:GH>IN$>G@HK>AA:&( &6N 


  )"# 

,EG>C<                     ))      "CIGD9J8I>DCID)=6GB68:JI>86A6G:6C9'DC
                              )G:H8G>EI>DCGJ<H
                             0::@AN GDJE>H8JHH>DC%:69:G

J<JHI     #JC:          A>C>86A"CHIGJ8IDG
                             >K>H>DCD;)=6GB68N)G68I>8:
                             ,6>CI%DJ>HDAA:<:D;)=6GB68N


6AA                       -!   -=:G6E:JI>8H"
                             0::@AN GDJE>H8JHH>DC%:69:G      

6AA                       +:H>9:CI-:68=>C<0DG@H=DEH
                             ,6>CI%DJ>HDAA:<:D;)=6GB68N

                             C =DJGLDG@H=DEH:G>:H9:H><C:9ID9:K:ADE6C
                              JC9:GHI6C9>C<D;@CDLA:9<:H@>AAH6C96II>IJ9:HC:8:HH6GNID
                              68=>:K:HIJ9:CI8:CI:G:96HH:HHB:CI9G>K:CA:6GC>C< 
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                                                                                                
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,EG>C<                          ) CI>B>8GD7>6A)=6GB68DI=:G6EN =DJGH
                                  %:8IJG:G 9>H8JHH>DC;68>A>I6IDG=ADG6BE=:C>8DA
                                   *J>CJEG>HI>C 6A;DEG>HI>C%>C:ODA>96C9/6C8DBN8>C

,EG>C<                          ))     "CIGD9J8I>DCID)=6GB68:JI>86A6G:6C9(-GJ<H
                                  0::@AN9>H8JHH>DCH:8I>DCA:69:G

,EG>C<                          )G:8:EIDG;DG)=6GB  A>C>86AA:G@H=>EH
                                  =>86<DDAA:<:HD;)=6GB68N
                                  &>9L:HI:GC.C>K:GH>IN

6AA                            )G:8:EIDG;DG)=6GB  ) 2 +:H>9:CIH
                                  &:9>86A"CI:CH>K:6G:.C>IGDI6I>DC
                                   +.,!.C>K:GH>IN&:9>86A:CI:G

J<JHI                         9?JC8IHH>HI6CI)GD;:HHDG
                               >K>H>DCD;)=6GB68N)G68I>8:
                                   =>86<DDAA:<:HD;)=6GB68N
                                   &>9L:HI:GC.C>K:GH>IN
                                   -=:G6E:JI>8"HHJ:H>CG>I>86A6G:))+  
                                   DJGH:>G:8IDG-J9N!D9<B6C)=6GB  ),&

'DK:B7:G                      HH>HI6CI)GD;:HHDG
                                   ,1/-#2"1(-,1-' /+ "-*-&5*2(#0 ,#*$"1/-*51$0
                                     "(# 0$(,1'$,1$,0(3$ /$,(1
                                   )+
                                   :E6GIB:CID;"CI:GC6A&:9>8>C:
                                   +.,!&:9>86ADAA:<:
                                   =>86<D"%

J<JHI     J<JHI           HH>HI6CI)GD;:HHDG
                              9K6C8:9-=:G6E:JI>8H
                              DJGH: )=6GB68DI=:G6E:JI>8H
                                   0- "1(3$'$/ .5(,1'$,1$,0(3$ /$,(1
                                   "21$ -/-, /55,#/-+$0 -"20-,$.$/%20(-,'$/ .($0
                                  DAA:<:D;'JGH>C<
                                  +.,!&:9>86A:CI:G
                                  =>86<D"%

J<JHI     J<JHI             HH>HI6CI)GD;:HHDG
                               DJGH:&:9>86A)=6GB68DAD<N
                                   +.,!&:9>86ADAA:<:
                                   =>86<D"%
                                   6AA*J6GI:G 8DCI68I=DJGH
                               ' /+ "-)(,$1("0 ,#
                                21-,-+("$/3-20501$+
                                   0>CI:G*J6GI:G 8DCI68I=DJGH
                                         /#(-3 0"2* /' /+ "-*-&5
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
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                                                                                                      
                                                                                                       

J<JHI                           HH>HI6CI)GD;:HHDG
                                   DJGH:)=NH>DAD<N6C9)=6GB68DAD<N
                                   +.,! G69J6I:DAA:<:
                                   =>86<D"%
                                       6AA*J6GI:G 8DCI68I=DJGH
                                           21-,-+("$/3-20501$+
                                            /#(-3 0"2* /' /+ "-*-&5
                                       ,EG>C<*J6GI:G8DCI68I=DJGH
                                           ,1("- &2* ,1 ,# ,1(.* 1$*$11'$/ .($0
                                        -4("-*-&5

#JAN       #JAN                   HH>HI6CI)GD;:HHDG
                                   DJGH:>G:8IDG
                                   DJGH:, )=6GB68DAD<N
                                   +.,!DAA:<:D;!:6AI=,8>:C8:H
                                   J9>DAD<N)=6GB68DAD<NJGG>8JAJB 8DCI68I=DJGH

#JAN       #JAN                   HH>HI6CI)GD;:HHDG
                                   :E6GIB:CID;C:HI=:H>DAD<N
                                   +:H>9:CIA:8IJG:H)=6GB68DAD<N8JGG>8JAJB
                                   -.("0 
                                        ' /+ "-)(,$1("0
                                        ' /+ "-#5, +("0
                                        /-1$(,!(,#(,&/2&#(00-"( 1(-,
                                        /2&#-0(,&(,-!$0$. 1($,10
                                          
&6N      #JAN                    HH>HI6CI)GD;:HHDG
                                   'JGH:C:HI=:H>6)GD<G6B4+'5
                                       DJGH:',  
                                   )=6GB68DAD<NJGG>8JAJB8DCI68I=DJGH
                                   -DE>8H
                                        )=6GB68D@>C:I>8H )=6GB68D9NC6B>8H
                                        C6E=NA6M>H
                                        GJ<GJ<"CI:G68I>DCH

#6CJ6GN       #JAN                HH>HI6CI)GD;:HHDG
                                   ):G;JH>DC)=6GB68DAD<N)+ 
                                       DJGH:>G:8IDG6C9A:8IJG:G8DCI68I=DJGH

'DK:B7:G                           +DDH:K:AIDAA:<:D;)=6GB68N
                                   )=6GB68DAD<N)!+ 
                                   CI>:B:I>8I=:G6E>:H =DJG
                                   CI>JA8:GI=:G6E>:H =DJG                      

,:EI:B7:G                           A>C>86A)=6GB68DAD<N:AADLH=>E
                                   DDDG9>C6IDG
                                   >DAD<>86A,8>:C8:H>K>H>DC
                                   .C>K:GH>IND;=>86<D
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&%!  &%! #  
      
        %D=-G>K:9>&6C9% S,JGK>K>C<,:EH>H6BE6><C       D8JHDC
      )=6GB68DI=:G6ENTG>I>86A6G:,>BJA6I>DC )G:H:CI:96II=:B:G>86CDAA:<:D;
      =:HI)=NH>8>6CH)B::I>C< )=>A69:AE=>6) (8ID7:G       
      
        % S8JI:&6C6<:B:CID;HI=B6TG>I>86A6G:)G:H:CI6I>DC )G:H:CI:96I
      B:G>86CDAA:<:D;=:HI)=NH>8>6CH)B::I>C< JHI>C-1 &6G8=         
      
       %  S(EI>B>O>C<,:96I>DC6C9C6A<:H>6>CI=:".TG>I>86A6G:JC9A:
      DJGH: )G:H:CI:96IB:G>86CDAA:<:D;=:HI)=NH>8>6CH) JC9::"% #JC:
           
      
       ,JC<6C9%  S-G:6IB:CIEEGD68=:H;DG)JABDC6GN!NE:GI:CH>DC>CI=:
      ".TG>I>86A6G:JC9A:DJGH: )G:H:CI:96IB:G>86CDAA:<:D;=:HI)=NH>8>6CH
      ) JC9::"% #JC:     
      
       %D=-G>K:9>&6C9% SAI:GC6I>K:HID)GDED;DAH:96I>DC>CI=:".G:K>:LD;
      8JGG:CIH:96I>DC6C96C6A<:H>6T)G:H:CI:96II=:B:G>86CDAA:<:D;=:HI)=NH>8>6CH
      )B::I>C< ,6C>:<D (8ID7:G        

       %  S%>;:-=G:6I:C>C<"C;:8I>DCH>6<CDH>H6C9CI>B>8GD7>6A-=:G6ENT 
      JC96B:CI6AH>CG>I>86A6G:,JEEDGI,HEDCHDG:97NI=:,& 
      J<JHI    QJ<JHI     

   
   
   +DC6A9&8DC6A9!DJH:                                                      #6CJ6GN            

     =>86<DDD9:EDH>IDGN                                                  EG>A       

     ::9&N,I6GK>C<=>A9G:C                                                ,:EI:B7:G               

  
     
      ,D8>:IND;G>I>86A6G:&:9>8>C:,&
      )G:H>9:CI>6A>I6I>DCDCIG>7JI>DCIDG>I>86A6G:   #6CJ6GN           
      
      ,D8>:IND;G>I>86A6G:&:9>8>C:,&
      )G:H>9:CI>6A>I6I>DCDCIG>7JI>DCIDG>I>86A6G:   #6CJ6GN           
      
      &:B7:G,EDIA><=I                                                   :8:B7:G                
      A>C>86A)=6GB68N6C9)=6GB68DAD<N,:8I>DC':LHA:II:G
      ,D8>:IND;G>I>86A6G:&:9>8>C:,&
      
      ,D8>:IND;G>I>86A6G:&:9>8>C:,&
      )G:H>9:CI>6A>I6I>DCDCIG>7JI>DCIDG>I>86A6G:   #6CJ6GN             
      
        A6MD,B>I=$A>C:)=6GB68:JI>86AL6G9>C)6I>:CI6G:                        &6N          


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                                                                                               
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      +:8>E>:CID;&6G@  6H6L6N,8=DA6GH=>E                                         

       +:8>E>:CID;0:GC:G,8=DA6GH=>E                                              

       ,6>CI%DJ>HDAA:<:D;)=6GB68N!><=)GD;>8>:C8N,8=DA6GH=>E                        

       ,6>CI%DJ>HDAA:<:D;)=6GB68N:6CUH%>HI                             


 $# # %$

         &6G8=     J<JHI     
       -G>6A+6C9DB>O:9-G>6AD;'DG:E>C:E=G>C:K:GHJHDE6B>C:;DG,:EI>8,=D8@
       ,>I:+.,!.C>K:GH>IN&:9>86A:CI:G&:9>86A"CI:CH>K:6G:.C>I
       +DA:)G>B6GN"CK:HI><6IDG
       JC9>C<'DC:

         #6CJ6GN     #JC:    
       -G>6A)GDHE:8I>K:+:K>:LD;CI>7>DI>89B>C>HIG6I>DC>C&:9>86A,JG<>86A"CI:CH>K:6G:
       .C>IH;DG,:EI>8,=D8@ &:9>86A"CI:CH>K:6G:.C>I6C9B:G<:C8N:E6GIB:CI 
       ,>I:+.,!.C>K:GH>IN&:9>86A:CI:G
       +DA:D"CK:HI><6IDG
       JC9>C<:CI:G;DGA>C>86A+:H:6G8=+.,!&:9>86A:CI:G6BDJCID;          
       
       
        #6CJ6GN     &6G8=     
       -G>6A+:IGDHE:8I>K:+:K>:LD;6C9>9:B>6HHD8>6I:9,:EI>8,=D8@
       ,>I:+.,!.C>K:GH>IN&:9>86A:CI:G
       +DA:)G>B6GN"CK:HI><6IDG
       JC9>C<'DC:
       
       #JC:     #JAN      
       -G>6A-=:+DA:D;,>BJA6I>DCIG6>C>C<L>I=)=6GB68N)G68I>8:+:H>9:CIH) 2 ) 2 >C
       DG9:GIDG:9J8:69K:GH::K:CIHL>I=>CIG6K:CDJHB:9>86I>DCH
      ,>I:+.,!.C>K:GH>IN&:9>86A:CI:G,>BJA6I>DC%67
      +DA:)G>B6GN"CK:HI><6IDG
       JC9>C<:CI:G;DG-:68=>C<M8:AA:C8: &>9L:HI:GC.C>K:GH>IN6C9=>86<DDAA:<:H
       D;)=6GB68N;DG  
       
        EG>A    EG>A   
       -G>6A/6A>96I>DCD;H:EI>8<:C:MEG:HH>D'.H>C<,:EI>8NI:/'.,
       ,>I:+JH=.C>K:GH>IN&:9>86A:CI:G&:9>86A"CI:CH>K:6G:.C>I
       +DA:D"CK:HI><6IDG
       
        #JC:     :8:B7:G      
       -G>6A,6;:IND;(A>8:G>9>C:-+/  >CE6I>:CIHL>I=68JI:E6>C;DGL=>8=E6G:CI:G6A
       DE>D>9I=:G6EN>HL6GG6CI:9
       ,>I:+JH=.C>K:GH>IN&:9>86A:CI:G
       )G>B6GN"CK:HI><6IDG96B2DJC<&C:HI=:H>DAD<N
       +DA:6I6,6;:IN&DC>IDG>C<D6G9,&
       

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          #6CJ6GN    Q:8:B7:G       
         -G>6A"BEA:B:CI6I>DCD;)=6GB68NH:GK>8:H>C6CDJIE6I>:CI8A>C>8
         ,>I:+JH=.C>K:GH>IN&:9>86A:CI:G
         +DA:)G>B6GN"CK:HI><6IDG
         JC9>C<NHI>8>7GDH>HDJC96I>DC G6CI;DG DK:GN:6GH
         
         
          #JC:    Q#JAN     
         -G>6AC:K6AJ6I>DCD;AD86A6C:HI=:I>8:;;>868N6C9H6;:INK6AJ6I>DCD;)6I>:CI,6;:IN
         6H:9DCJBJA6I>K:%D86AC:HI=:I>8MEDHJG:>CI=:):G>DE:G6I>K:G:6
         ,>I:+JH=.C>K:GH>IN&:9>86A:CI:G
         +DA:)G>B6GN"CK:HI><6IDG
         JC9>C<:CI:G;DGA>C>86A+:H:6G8=+.,!.C>K:GH>IN&:9>86A:CI:G6BDJCI           


#!$$! %! $#$"

        B:G>86C869:BND;A>C>86A-DM>8DAD<N-                           )G:H:CI
              
        
         ,D8>:IND;G>I>86A6G:&:9>8>C:,&                                 )G:H:CI
        

        B:G>86CDAA:<:D;A>C>86A)=6GB68N)                              )G:H:CI
        
        ):G>DE:G6I>K:)+'
        ,:8G:I6GN /$ 02/$/                                                             
        =6>G                                                                           
        
           6I:L6NDAA:<:D;A>C>86A)=6GB68N                                               
        
                           
        +=D=>'6I>DC6A!DCDG,D8>:IN                                       )G:H:CI
        :I6$6EE6=6EI:G &:B7:G
        ,6>CI%DJ>HDAA:<:D;)=6GB68N

    !($"$

        -=:"CHI>IJI:D;&:9>8>C:D;=>86<D"(&                       :8:B7:G                    

        B:G>86CDAA:<:D;G>I>86A6G:&:9>8>C:&                  #6CJ6GN                

        B:G>86CDAA:<:D;A>C>86A)=6GB68N)                       (8ID7:G                 
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                                                                                        

&## % $&# #%%! 
         
          D6G9:GI>;>:9G>I>86A6G:)=6GB68>HI)       'DK:B7:G              
          
          6H>8>H6HI:G%>;:,JEEDGI%,                   #JAN    
          
          D6G9:GI>;>:9)=6GB68DI=:G6EN,E:8>6A>HI),       :8:B7:G                   

         9K6C8:96G9>68%>;:,JEEDGI%,                  'DK:B7:G               

          +:<>HI:G:9)=6GB68>HI7N:M6B>C6I>DC"AA>CD>H         #JC:         
          
          +:<>HI:G:9)=6GB68>HI7N:M6B>C6I>DC&>HHDJG>         (8ID7:G           
         
         6H>86G9>68%>;:,JEEDGI%,                     EG>A       
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   1. Rickleman v. St. Agnes Medical, File 22-9480 (Fresno, CA)
   2. Andrade v. St. Agnes Medical, Claim 6482H20115946 (Fresno, CA)
   3. Fastula v. Gamze, 2014 L 13441 (Chicago, IL)
   4. Kennedy v. Kelley, (St. Clara, CA)
   5. Madala v. Department of Public Health, (Philadelphia, PA)
   6. Scheffler v. Advocate Christ Medical Center, (Chicago, IL)
   7. Abenante v. Riverview Medical Center, MON-L-1782-15, (Westfield, NJ)
   8. Public v. Husel, (Columbus, OH)
   9. Lane v. Spectrum Health, (Grand Rapids, MI)
   10. St. Pierre v. Williams, (Columbia, MO)
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   12. Johnson v. Firelands, File 2621-02-1110S-19 (Sandusky, OH)
   13. Brewer v. Firelands, Sandusky, OH
   14. Jones v. Care Options, (Lancaster, PA)
   15. Sorrano v. Desert Springs Hospital Medical Center, (Desert Springs, AZ)
   16. Lenzy v. Doylestown, (Philadelphia, PA)
   17. Neville v. Cortez, 2442-25809C (Columbus, OH)
   18. Hale v. University of Utah, (St. Lake City, UT)
   19. Meija v. Home Care (Mesa, AZ)
   20. Hatfield v. Genesis, (Columbus, OH)
   21. Dotson v. King Medical, 20-CIA-001, (Portsmouth, OH)
   22. Romer v. Dupage Medical Group, 18 L 09198, (Chicago, IL)




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